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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
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 7
        UNITED STATES OF AMERICA,           )               CR F 04-5171 AWI
 8                                          )
                          Plaintiff,        )               ORDER CONCERNING JULY 15,
 9                                          )               2006 ORDER FROM NINTH
              v.                            )               CIRCUIT
10                                          )
        JUVENILE,                           )               ORDER DIRECTING CLERK OF
11                                          )               COURT TO SERVE ORDER ON
                          Defendant.        )               NINTH CIRCUIT
12      ____________________________________)
13
14          On April 24, 2006, in this criminal action, the court granted the United State’s motion to
15   allow Juvenile to be charged as an adult. At a court hearing on May 3, 2006, the court
16   confirmed Juvenile’s right to appeal this ruling within ten days. On May 31, 2006, Juvenile
17   filed a notice of appeal. On July 13, 2006, Juvenile filed a notice of withdrawal of the appeal.
18   On July 17, 2006, at a court hearing, Juvenile advised the court that the appeal was being
19   withdrawn. On July 25, 2006, the court received an order from the Ninth Circuit Court of
20   Appeals. The Ninth Circuit’s order reads in part:
21          . . . .Because the notice of appeal was filed more than 10 court days after entry of
            the order, but within 30 calendar days after the expiration of the time to file the
22          notice of appeal, this case is remanded to the district court, pursuant to circuit
            court policy, for the limited purpose of permitting the district court to provide
23          appellant notice and an opportunity to request that the time for filing the notice of
            appeal be extended for a period not to exceed 30 calendar days from the
24          expiration of the time for filing a notice of appeal based on a showing of
            excusable neglect. (Citations Omitted)
25                   The district court is requested to make this determination at its earliest
            convenience and to send to this court a copy of its order setting forth the basis for
26          its determination.
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     July 25, 2006 Order, Ninth Circuit Case Number 06-10368.
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 1          Rule 4(b)(4) of the Federal Rules of Appellate Procedure states “Upon a finding of
 2   excusable neglect or good cause, the district court may--before or after the time has expired, with
 3   or without motion and notice--extend the time to file a notice of appeal for a period not to exceed
 4   30 days from the expiration of the time otherwise prescribed by this Rule 4(b).”     In this case, the
 5   court finds that it is unnecessary to determine if there is excusable neglect or good cause to
 6   extend the time within which Juvenile may appeal. Juvenile has indicated to this court that he
 7   withdraws his appeal.
 8          Accordingly, in light of the Ninth Circuit’s July 25, 2006 order the court:
 9          1.       ADVISES Juvenile of his right to request additional time in which to file his
10                   notice of appeal pursuant to Rule of Appellate Procedure 4(b)(4);
11          2.       DECLINES to sua sponte find excusable neglect or good cause to file a late notice
12                   of appeal because Juvenile has withdrawn his appeal;
13          3.       DIRECTS the Clerk of the Court to serve a copy of this order on the Ninth Circuit
14                   Court of Appeals;
15          4.       DIRECTS the Clerk of the Court to serve a courtesy copy of Juvenile’s Notice of
16                   Withdrawal (Document #96) on the Ninth Circuit Court of Appeals; and
17          5.       DIRECTS Juvenile, if he has not already done so, to file a notice of withdrawal of
18                   his appeal with the Ninth Circuit Court of Appeals.
19
20   IT IS SO ORDERED.
21   Dated:       July 25, 2006                         /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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